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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------   x
JARRETT PAYNE; ANDIE MALI; CAMILA                               :
GINI; VIDAL GUZMAN; VIVIAN MATTHEW                              :
KING-YARDE; CHARLIE MONLOUIS-                                   :
ANDERLE; JAIME FRIED; MICAELA                                   :
MARTINEZ; JULIAN PHILLIPS; NICHOLAS                             :
MULDER; and COLLEEN MCCORMACK-                                  :
MAITLAND,                                                       :
                                                                :
                                    Plaintiffs,                 :   AFFIDAVIT OF SERVICE
                  v.                                            :
                                                                :
MAYOR BILL DE BLASIO; POLICE                                    :   Case No. 1:20-cv-08924-CM
COMMISSIONER DERMOT SHEA; CHIEF OF                              :
DEPARTMENT TERENCE MONAHAN; CITY                                :
OF NEW YORK; NYPD OFFICERS JOHN DOE                             :
1-32; NYPD OFFICERS JANE DOE 1-2; NYPD                          :
OFFICER DOE RIVERA; NYPD OFFICER DOE                            :
HUSBAND; NYPD SERGEANT DOE                                      :
MANNING; and NYPD SERGEANT DOE                                  :
CARABALLO,                                                      :
                                                                :
                                    Defendants.                 :
-------------------------------------------------------------   x

STATE OF NEW YORK  )
COUNTY OF NEW YORK ) ss:

I, JOHN PARASKEVOPOULOS, being duly sworn, depose and say that:

    1.       I am an employee of the New York Civil Liberties Union, am 18 years of age or older,

             and am not a party to this case.

    2.       On the 28th day of October, 2020, at approximately 3:50 p.m., I personally served by

             electronic mail true and correct copies of the complaint and summonses issued by this

             Court as to Mayor Bill de Blasio and the City of New York, respectively, upon both

             parties through their counsel, the New York City Law Department.




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3.   Service was made electronically by means of emailing as-filed digital copies of the

     complaint and summonses to ServiceECF@law.nyc.gov, an electronic portal set up by

     the New York City Law Department and Corporation Counsel for the express purpose

     of receiving service of process during the pendency of the COVID-19 pandemic in New

     York City. See “Service of Process,” New York City Law Department,

     https://www1.nyc.gov/site/law/index.page, last accessed Oct. 30, 2020. Service was

     acknowledged through the receipt of an email response that day at 3:51 p.m. entitled

     “Proof of service receipt.”

4.   Additionally, on the 29th day of October, 2020, I served by first-class mail true and

     correct copies of the complaint and summonses upon Mayor Bill de Blasio and the City

     of New York at the following addresses:

     City of New York
     c/o James E. Johnson
     New York City Law Department
     100 Church St.
     New York, NY 10007

     Mayor Bill de Blasio
     c/o James E. Johnson
     New York City Law Department
     100 Church St.
     New York, NY 10007

5.   On the 29th day of October, 2020, I personally served by hand delivery and first-class

     mail true and correct copies of the complaint and summonses issued by this Court as to

     Police Commissioner Dermot Shea and Chief of Department Terence Monahan, upon

     both parties respectively. Service by means of hand delivery was accepted at

     approximately 1:38 p.m. by Detective Wazhma Mirza, an agent of the New York City




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             Police Department. Service by hand delivery and first-class mail was made at the

             following addresses:

             Dermot Shea
             Police Commissioner
             New York City Police Department
             1 Police Plaza
             New York, NY 10038

             Terence Monahan
             Chief of Department
             New York City Police Department
             1 Police Plaza
             New York, NY 10038


  Dated:    October 30, 2020
            New York, N.Y.                                            name)

                                                      JOHN PARASKEVOPOULOS
                                                             (print name)

  Sworn to before me this
 30th day of October, 2020



       NOTARY PUBLIC




Sworn to me via videoconferencing pursuant to N.Y. Executive Order 202.67.




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